                      UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA

Tammy McCrae-Coley
              v.                                                      Case Number: 1:21cv666
Starter Home Programs, Inc., et al.

                                            NOTICE

        TAKE NOTICE that a JURY TRIAL has been tentatively SET in the above-referenced
case for the APRIL 3, 2023 MASTER CALENDAR TERM. Said term shall begin on April
3, 2023 and will continue until all the cases on the calendar have been tried. Cases will not
necessarily be called for jury selection and trial in the order in which they will appear on
the calendar.

        PLACE:        L. Richardson Preyer Bldg., 324 W. Market St., Greensboro,
                      N.C.
        COURTROOM NO: 3
        DATE & TIME:  April 3, 2023 at 9:30 a.m.
        PROCEEDING:   Jury Trial

        *Counsel will be notified of a date certain for trial closer to the start of the term.

        A settlement conference in the above-referenced case will be set for a date approximately
30 days weeks before the commencement of the Master Calendar term. Counsel are directed to
bring their clients and a representative from the corporations to the settlement conference.

        The parties shall comply in all respects with Fed. R. Civ. P. 26(a)(3) regarding final
pretrial disclosure, including the time requirements set out therein. Unless the court orders
otherwise, pretrial disclosures must be made no later than March 3, 2023. Motions in
limine must be filed no later than March 10, 2023. Any objections to pretrial disclosures
and responses to motions in limine must be served and promptly filed no later than March
17, 2023.

        Each party shall file a trial brief, along with proposed instructions on the issues no
later than March 13, 2023. Counsel shall consult and endeavor to file one (1) set of agreed
upon jury instructions to the extent practicable and may file competing jury instructions where
there is disagreement. An electronic Word version of the jury instructions shall be emailed to the
assigned district judge’s ECF mailbox.

John S.Brubaker, Clerk
By:    /s/ Robin Winchester

Date:     July 14, 2022

TO:     ALL COUNSEL AND/OR PARTIES OF RECORD




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